                                   IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                           CHARLOTTE DIVISION

              UNITED STATES OF AMERICA                       ) NO.: 3:16-CR-209-MOC-DCK
                                                             )
                                                             )
              v.                                             )
                                                             )               ORDER
              TORMEKA GRAVES                                 )
                                                             )
                                                             )


                      THIS MATTER IS BEFORE THE COURT on Plaintiff’s “Motion To Seal Factual

              Basis” (Document No. 55) filed December 2, 2016. By and through Jill Westmoreland Rose,

              United States Attorney for the Western District of North Carolina, the government seeks an order

              directing that the Factual Basis be sealed until further order of this Court. Having carefully

              considered the motion, and noting that the motion is not in compliance with LCvR 6.1, the

              undersigned will deny the motion, without prejudice to re-file.

                      IT IS, THEREFORE, ORDERED that Plaintiff’s “Motion To Seal Factual Basis”

              (Document No. 55) is DENIED without prejudice to re-file.

                      SO ORDERED.




Signed: December 5, 2016




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